EXHIBIT A
                                                                          Eddy O. Cisneros
Week Start Week End            Hours Worked         Overtime Hours Worked     Regular Rate           Overtime Premium Rate   Alleged Overtime Owed    Liquidated Damages
 2/22/2017           2/25/2017                47.32                     7.32 $               22.50   $                 11.25 $                  82.35 $              82.35
 2/26/2017            3/4/2017                52.02                    12.02 $               22.50   $                 11.25 $                 135.23 $             135.23
  3/5/2017           3/11/2017                50.90                    10.90 $               22.50   $                 11.25 $                 122.63 $             122.63
 3/12/2017           3/18/2017                 0.00                     0.00 $               22.50   $                 11.25 $                    -    $               -
 3/19/2017           3/25/2017                46.92                     6.92 $               22.50   $                 11.25 $                  77.85 $              77.85
 3/26/2017            4/1/2017                48.18                     8.18 $               22.50   $                 11.25 $                  92.03 $              92.03
  4/2/2017            4/8/2017                53.07                    13.07 $               22.50   $                 11.25 $                 147.04 $             147.04
  4/9/2017           4/15/2017                28.32                     0.00 $               22.50   $                 11.25 $                    -    $               -
 4/16/2017           4/22/2017                30.90                     0.00 $               22.50   $                 11.25 $                    -    $               -
 4/23/2017           4/29/2017                51.03                    11.03 $               22.50   $                 11.25 $                 124.09 $             124.09
 4/30/2017            5/6/2017                47.32                     7.32 $               22.50   $                 11.25 $                  82.35 $              82.35
  5/7/2017           5/13/2017                48.75                     8.75 $               22.50   $                 11.25 $                  98.44 $              98.44
 5/14/2017           5/20/2017                49.45                     9.45 $               22.50   $                 11.25 $                 106.31 $             106.31
 5/21/2017           5/27/2017                28.08                     0.00 $               22.50   $                 11.25 $                    -    $               -
 5/28/2017            6/3/2017                39.53                     0.00 $               22.50   $                 11.25 $                    -    $               -
  6/4/2017           6/10/2017                59.55                    19.55 $               22.50   $                 11.25 $                 219.94 $             219.94
 6/11/2017           6/17/2017                61.28                    21.28 $               22.50   $                 11.25 $                 239.40 $             239.40
 6/18/2017           6/24/2017                58.93                    18.93 $               22.50   $                 11.25 $                 212.96 $             212.96
 6/25/2017            7/1/2017                61.80                    21.80 $               22.50   $                 11.25 $                 245.25 $             245.25
  7/2/2017            7/8/2017                56.80                    16.80 $               22.50   $                 11.25 $                 189.00 $             189.00
  7/9/2017           7/15/2017                55.47                    15.47 $               22.50   $                 11.25 $                 174.04 $             174.04
 7/16/2017           7/22/2017                55.22                    15.22 $               22.50   $                 11.25 $                 171.23 $             171.23
 7/23/2017           7/29/2017                55.53                    15.53 $               22.50   $                 11.25 $                 174.71 $             174.71
 7/30/2017            8/5/2017                53.97                    13.97 $               22.50   $                 11.25 $                 157.16 $             157.16
  8/6/2017           8/12/2017                58.08                    18.08 $               22.50   $                 11.25 $                 203.40 $             203.40
 8/13/2017           8/19/2017                57.62                    17.62 $               22.50   $                 11.25 $                 198.23 $             198.23
 8/20/2017           8/26/2017                59.47                    19.47 $               22.50   $                 11.25 $                 219.04 $             219.04
 8/27/2017            9/2/2017                58.32                    18.32 $               22.50   $                 11.25 $                 206.10 $             206.10
  9/3/2017            9/9/2017                55.65                    15.65 $               22.50   $                 11.25 $                 176.06 $             176.06
 9/10/2017           9/16/2017                58.83                    18.83 $               22.50   $                 11.25 $                 211.84 $             211.84
 9/17/2017           9/23/2017                41.52                     1.52 $               22.50   $                 11.25 $                  17.10 $              17.10
 9/24/2017           9/30/2017                58.70                    18.70 $               22.50   $                 11.25 $                 210.38 $             210.38
 10/1/2017           10/7/2017                20.73                     0.00 $               22.50   $                 11.25 $                    -    $               -
 10/8/2017          10/14/2017                38.47                     0.00 $               26.50   $                 13.25 $                    -    $               -
10/15/2017          10/21/2017                60.33                    20.33 $               26.50   $                 13.25 $                 269.37 $             269.37
10/22/2017          10/28/2017                52.62                    12.62 $               26.50   $                 13.25 $                 167.22 $             167.22
10/29/2017           11/4/2017                53.73                    13.73 $               26.50   $                 13.25 $                 181.92 $             181.92
 11/5/2017          11/11/2017                55.68                    15.68 $               26.50   $                 13.25 $                 207.76 $             207.76
11/12/2017          11/18/2017                56.20                    16.20 $               26.50   $                 13.25 $                 214.65 $             214.65
11/19/2017          11/25/2017                54.58                    14.58 $               26.50   $                 13.25 $                 193.19 $             193.19
11/26/2017           12/2/2017                55.20                    15.20 $               26.50   $                 13.25 $                 201.40 $             201.40
 12/3/2017           12/9/2017                53.23                    13.23 $               26.50   $                 13.25 $                 175.30 $             175.30
12/10/2017          12/16/2017                49.73                     9.73 $               26.50   $                 13.25 $                 128.92 $             128.92
12/17/2017          12/23/2017                54.37                    14.37 $               26.50   $                 13.25 $                 190.40 $             190.40
12/24/2017          12/30/2017                54.18                    14.18 $               26.50   $                 13.25 $                 187.89 $             187.89
12/31/2017            1/6/2018                56.78                    16.78 $               28.00   $                 14.00 $                 234.92 $             234.92
  1/7/2018           1/13/2018                 61.4                     21.4 $               28.00   $                 14.00 $                 299.60 $             299.60
 1/14/2018           1/20/2018                60.02                    20.02 $               28.00   $                 14.00 $                 280.28 $             280.28
 1/21/2018           1/27/2018                63.81                    23.81 $               28.00   $                 14.00 $                 333.34 $             333.34
 1/28/2018            2/3/2018                75.42                    35.42 $               28.00   $                 14.00 $                 495.88 $             495.88
  2/4/2018           2/10/2018                52.06                    12.06 $               28.00   $                 14.00 $                 168.84 $             168.84
 2/11/2018           2/17/2018                64.11                    24.11 $               28.00   $                 14.00 $                 337.54 $             337.54
 2/18/2018           2/24/2018                53.55                    13.55 $               28.00   $                 14.00 $                 189.70 $             189.70
 2/25/2018            3/3/2018                66.29                    26.29 $               28.00   $                 14.00 $                 368.06 $             368.06
  3/4/2018           3/10/2018                55.42                    15.42 $               28.00   $                 14.00 $                 215.88 $             215.88
 3/11/2018           3/17/2018                73.08                    33.08 $               28.00   $                 14.00 $                 463.12 $             463.12
 3/18/2018           3/24/2018                61.81                    21.81 $               28.00   $                 14.00 $                 305.34 $             305.34
 3/25/2018           3/31/2018                54.94                    14.94 $               28.00   $                 14.00 $                 209.16 $             209.16
  4/1/2018            4/7/2018                37.88                         0 $              28.00   $                 14.00 $                    -    $               -
  4/8/2018           4/14/2018                62.95                    22.95 $               28.00   $                 14.00 $                 321.30 $             321.30
 4/15/2018           4/21/2018                59.78                    19.78 $               28.00   $                 14.00 $                 276.92 $             276.92
 4/22/2018           4/28/2018                60.46                    20.46 $               28.00   $                 14.00 $                 286.44 $             286.44
 4/29/2018            5/5/2018                57.27                    17.27 $               28.00   $                 14.00 $                 241.78 $             241.78
  5/6/2018           5/12/2018                57.12                    17.12 $               28.00   $                 14.00 $                 239.68 $             239.68
 5/13/2018           5/19/2018                 53.1                     13.1 $               28.00   $                 14.00 $                 183.40 $             183.40
 5/20/2018           5/26/2018                 43.8                       3.8 $              28.00   $                 14.00 $                  53.20 $              53.20
 5/27/2018            6/2/2018                59.86                    19.86 $               28.00   $                 14.00 $                 278.04 $             278.04
  6/3/2018            6/9/2018                50.26                    10.26 $               28.00   $                 14.00 $                 143.64 $             143.64
 6/10/2018           6/16/2018                60.55                    20.55 $               28.00   $                 14.00 $                 287.70 $             287.70
 6/17/2018           6/23/2018                59.25                    19.25 $               28.00   $                 14.00 $                 269.50 $             269.50
 6/24/2018           6/30/2018                62.82                    22.82 $               28.00   $                 14.00 $                 319.48 $             319.48
  7/1/2018            7/7/2018                57.62                    17.62 $               28.00   $                 14.00 $                 246.68 $             246.68
  7/8/2018           7/14/2018                59.26                    19.26 $               28.00   $                 14.00 $                 269.64 $             269.64
 7/15/2018           7/21/2018                59.32                    19.32 $               28.00   $                 14.00 $                 270.48 $             270.48
 7/22/2018           7/28/2018                62.46                    22.46 $               28.00   $                 14.00 $                 314.44 $             314.44
 7/29/2018            8/4/2018                 60.5                     20.5 $               28.00   $                 14.00 $                 287.00 $             287.00
  8/5/2018           8/11/2018                62.17                    22.17 $               28.00   $                 14.00 $                 310.38 $             310.38
 8/12/2018           8/18/2018                61.92                    21.92 $               28.00   $                 14.00 $                 306.88 $             306.88
 8/19/2018           8/25/2018                51.22                    11.22 $               28.00   $                 14.00 $                 157.08 $             157.08
 8/26/2018            9/1/2018                61.45                    21.45 $               28.00   $                 14.00 $                 300.30 $             300.30
  9/2/2018            9/8/2018                60.99                    20.99 $               28.00   $                 14.00 $                 293.86 $             293.86
  9/9/2018    9/15/2018   40.26    0.26   $   28.00   $   14.00   $     3.64   $     3.64
 9/16/2018    9/22/2018   50.03   10.03   $   28.00   $   14.00   $   140.42   $   140.42
 9/23/2018    9/29/2018   42.41    2.41   $   28.00   $   14.00   $    33.74   $    33.74
 9/30/2018    10/6/2018    41.5     1.5   $   28.00   $   14.00   $    21.00   $    21.00
 10/7/2018   10/13/2018   59.88   19.88   $   28.00   $   14.00   $   278.32   $   278.32
10/14/2018   10/20/2018   52.14   12.14   $   28.00   $   14.00   $   169.96   $   169.96
10/21/2018   10/27/2018   59.23   19.23   $   28.00   $   14.00   $   269.22   $   269.22
10/28/2018    11/3/2018   50.75   10.75   $   28.00   $   14.00   $   150.50   $   150.50
 11/4/2018   11/10/2018   59.62   19.62   $   28.00   $   14.00   $   274.68   $   274.68
11/11/2018   11/17/2018   58.62   18.62   $   28.00   $   14.00   $   260.68   $   260.68
11/18/2018   11/24/2018   50.99   10.99   $   28.00   $   14.00   $   153.86   $   153.86
11/25/2018    12/1/2018   50.09   10.09   $   28.00   $   14.00   $   141.26   $   141.26
 12/2/2018    12/8/2018   49.99    9.99   $   28.00   $   14.00   $   139.86   $   139.86
 12/9/2018   12/15/2018   50.45   10.45   $   28.00   $   14.00   $   146.30   $   146.30
12/16/2018   12/22/2018   49.48    9.48   $   28.00   $   14.00   $   132.72   $   132.72
12/23/2018   12/29/2018   57.87   17.87   $   28.00   $   14.00   $   250.18   $   250.18
12/30/2018     1/5/2019    41.1     1.1   $   28.00   $   14.00   $    15.40   $    15.40
  1/6/2019    1/12/2019   50.19   10.19   $   28.00   $   14.00   $   142.66   $   142.66
 1/13/2019    1/19/2019   51.16   11.16   $   28.00   $   14.00   $   156.24   $   156.24
 1/20/2019    1/26/2019   65.38   25.38   $   28.00   $   14.00   $   355.32   $   355.32
 1/27/2019     2/2/2019   61.28   21.28   $   28.00   $   14.00   $   297.92   $   297.92
  2/3/2019     2/9/2019   59.93   19.93   $   28.00   $   14.00   $   279.02   $   279.02
 2/10/2019    2/16/2019   64.45   24.45   $   28.00   $   14.00   $   342.30   $   342.30
 2/17/2019    2/23/2019   64.61   24.61   $   28.00   $   14.00   $   344.54   $   344.54
 2/24/2019     3/2/2019   64.33   24.33   $   28.00   $   14.00   $   340.62   $   340.62
  3/3/2019     3/9/2019   61.43   21.43   $   28.00   $   14.00   $   300.02   $   300.02
 3/10/2019    3/16/2019   60.76   20.76   $   28.00   $   14.00   $   290.64   $   290.64
 3/17/2019    3/23/2019   50.88   10.88   $   28.00   $   14.00   $   152.32   $   152.32
 3/24/2019    3/30/2019   51.56   11.56   $   28.00   $   14.00   $   161.84   $   161.84
 3/31/2019     4/6/2019   64.18   24.18   $   28.00   $   14.00   $   338.52   $   338.52
  4/7/2019    4/13/2019   53.01   13.01   $   28.00   $   14.00   $   182.14   $   182.14
 4/14/2019    4/20/2019   54.38   14.38   $   28.00   $   14.00   $   201.32   $   201.32
 4/21/2019    4/27/2019   50.42   10.42   $   28.00   $   14.00   $   145.88   $   145.88
 4/28/2019     5/4/2019   64.44   24.44   $   28.00   $   14.00   $   342.16   $   342.16
  5/5/2019    5/11/2019   53.78   13.78   $   28.00   $   14.00   $   192.92   $   192.92
 5/12/2019    5/18/2019   56.32   16.32   $   28.00   $   14.00   $   228.48   $   228.48
 5/19/2019    5/25/2019   58.25   18.25   $   28.00   $   14.00   $   255.50   $   255.50
 5/26/2019     6/1/2019       0       0   $   28.00   $   14.00   $      -     $      -
  6/2/2019     6/8/2019   55.96   15.96   $   28.00   $   14.00   $   223.44   $   223.44
  6/9/2019    6/15/2019   43.83    3.83   $   28.00   $   14.00   $    53.62   $    53.62
 6/16/2019    6/22/2019   55.62   15.62   $   28.00   $   14.00   $   218.68   $   218.68
 6/23/2019    6/29/2019   56.89   16.89   $   28.00   $   14.00   $   236.46   $   236.46
 6/30/2019     7/6/2019   53.03   13.03   $   28.00   $   14.00   $   182.42   $   182.42
  7/7/2019    7/13/2019   55.04   15.04   $   28.00   $   14.00   $   210.56   $   210.56
 7/14/2019    7/20/2019   53.78   13.78   $   28.00   $   14.00   $   192.92   $   192.92
 7/21/2019    7/27/2019    53.2    13.2   $   28.00   $   14.00   $   184.80   $   184.80
 7/28/2019     8/3/2019       0       0   $   28.00   $   14.00   $      -     $      -
  8/4/2019    8/10/2019    57.2    17.2   $   28.00   $   14.00   $   240.80   $   240.80
 8/11/2019    8/17/2019   68.41   28.41   $   28.00   $   14.00   $   397.74   $   397.74
 8/18/2019    8/24/2019   53.44   13.44   $   28.00   $   14.00   $   188.16   $   188.16
 8/25/2019    8/31/2019   53.51   13.51   $   28.00   $   14.00   $   189.14   $   189.14
  9/1/2019     9/7/2019    53.3    13.3   $   28.00   $   14.00   $   186.20   $   186.20
  9/8/2019    9/14/2019   49.72    9.72   $   28.00   $   14.00   $   136.08   $   136.08
 9/15/2019    9/21/2019   53.26   13.26   $   28.00   $   14.00   $   185.64   $   185.64
 9/22/2019    9/28/2019   53.38   13.38   $   28.00   $   14.00   $   187.32   $   187.32
 9/29/2019    10/5/2019   31.19       0   $   28.00   $   14.00   $      -     $      -
 10/6/2019   10/12/2019   21.49       0   $   28.00   $   14.00   $      -     $      -
10/13/2019   10/19/2019   43.65    3.65   $   28.00   $   14.00   $    51.10   $    51.10
10/20/2019   10/26/2019   31.27       0   $   28.00   $   14.00   $      -     $      -
10/27/2019    11/2/2019   52.55   12.55   $   28.00   $   14.00   $   175.70   $   175.70
 11/3/2019    11/9/2019   53.83   13.83   $   28.00   $   14.00   $   193.62   $   193.62
11/10/2019   11/16/2019   52.35   12.35   $   28.00   $   14.00   $   172.90   $   172.90
11/17/2019   11/23/2019   52.99   12.99   $   28.00   $   14.00   $   181.86   $   181.86
11/24/2019   11/30/2019   31.19       0   $   28.00   $   14.00   $      -     $      -
 12/1/2019    12/7/2019   41.14    1.14   $   28.00   $   14.00   $    15.96   $    15.96
 12/8/2019   12/14/2019   51.54   11.54   $   28.00   $   14.00   $   161.56   $   161.56
12/15/2019   12/21/2019   41.72    1.72   $   28.00   $   14.00   $    24.08   $    24.08
12/22/2019   12/28/2019   50.98   10.98   $   28.00   $   14.00   $   153.72   $   153.72
12/29/2019     1/4/2020   42.85    2.85   $   28.00   $   14.00   $    39.90   $    39.90
  1/5/2020    1/11/2020   51.96   11.96   $   28.00   $   14.00   $   167.44   $   167.44
 1/12/2020    1/18/2020   49.73    9.73   $   28.00   $   14.00   $   136.22   $   136.22
 1/19/2020    1/25/2020   50.56   10.56   $   28.00   $   14.00   $   147.84   $   147.84
 1/26/2020     2/1/2020      53      13   $   28.00   $   14.00   $   182.00   $   182.00
  2/2/2020     2/8/2020   50.97   10.97   $   28.00   $   14.00   $   153.58   $   153.58
  2/9/2020    2/15/2020   52.75   12.75   $   28.00   $   14.00   $   178.50   $   178.50
 2/16/2020    2/22/2020   52.04   12.04   $   28.00   $   14.00   $   168.56   $   168.56
 2/23/2020    2/29/2020   52.21   12.21   $   28.00   $   14.00   $   170.94   $   170.94
  3/1/2020     3/7/2020    50.5    10.5   $   28.00   $   14.00   $   147.00   $   147.00
  3/8/2020    3/14/2020    52.9    12.9   $   28.00   $   14.00   $   180.60   $   180.60
 3/15/2020    3/21/2020   59.83   19.83   $   28.00   $   14.00   $   277.62   $   277.62
 3/22/2020    3/28/2020   45.13    5.13   $   28.00   $   14.00   $    71.82   $    71.82
 3/29/2020     4/4/2020   46.18    6.18   $   28.00   $   14.00   $    86.52   $    86.52
  4/5/2020    4/11/2020   28.91       0   $   28.00   $   14.00   $      -     $      -
 4/12/2020    4/18/2020   38.68       0   $   28.00   $   14.00   $      -     $      -
 4/19/2020    4/25/2020   61.75   21.75   $   28.00   $   14.00   $   304.50   $   304.50
 4/26/2020     5/2/2020   57.77   17.77   $   28.00   $   14.00   $   248.78   $   248.78
  5/3/2020     5/9/2020   56.87   16.87   $   28.00   $   14.00   $   236.18   $   236.18
 5/10/2020    5/16/2020   57.67   17.67   $   28.00   $   14.00   $   247.38   $   247.38
 5/17/2020    5/23/2020   57.83   17.83   $   28.00   $   14.00   $   249.62   $   249.62
 5/24/2020    5/30/2020   48.08    8.08   $   28.00   $   14.00   $   113.12   $   113.12
 5/31/2020     6/6/2020   57.71   17.71   $   28.00   $   14.00   $   247.94   $   247.94
  6/7/2020    6/13/2020   57.23   17.23   $   28.00   $   14.00   $   241.22   $   241.22
 6/14/2020    6/20/2020   59.74   19.74   $   28.00   $   14.00   $   276.36   $   276.36
 6/21/2020    6/27/2020   57.99   17.99   $   28.00   $   14.00   $   251.86   $   251.86
 6/28/2020     7/4/2020   48.23    8.23   $   28.00   $   14.00   $   115.22   $   115.22
  7/5/2020    7/11/2020    57.1    17.1   $   28.00   $   14.00   $   239.40   $   239.40
 7/12/2020    7/18/2020   59.63   19.63   $   28.00   $   14.00   $   274.82   $   274.82
 7/19/2020    7/25/2020   49.85    9.85   $   28.00   $   14.00   $   137.90   $   137.90
 7/26/2020     8/1/2020   14.77       0   $   28.00   $   14.00   $      -     $      -
  8/2/2020     8/8/2020   50.12   10.12   $   28.00   $   14.00   $   141.68   $   141.68
  8/9/2020    8/15/2020       0       0   $   28.00   $   14.00   $      -     $      -
 8/16/2020    8/22/2020   58.99   18.99   $   28.00   $   14.00   $   265.86   $   265.86
 8/23/2020    8/29/2020   49.55    9.55   $   28.00   $   14.00   $   133.70   $   133.70
 8/30/2020     9/5/2020   59.15   19.15   $   28.00   $   14.00   $   268.10   $   268.10
  9/6/2020    9/12/2020    39.2       0   $   28.00   $   14.00   $      -     $      -
 9/13/2020    9/19/2020   50.66   10.66   $   28.00   $   14.00   $   149.24   $   149.24
 9/20/2020    9/26/2020    56.9    16.9   $   28.00   $   14.00   $   236.60   $   236.60
 9/27/2020    10/3/2020    28.9       0   $   28.00   $   14.00   $      -     $      -
 10/4/2020   10/10/2020   40.42    0.42   $   28.00   $   14.00   $     5.88   $     5.88
10/11/2020   10/17/2020   62.02   22.02   $   28.00   $   14.00   $   308.28   $   308.28
10/18/2020   10/24/2020    61.5    21.5   $   28.00   $   14.00   $   301.00   $   301.00
10/25/2020   10/31/2020    58.3    18.3   $   28.00   $   14.00   $   256.20   $   256.20
 11/1/2020    11/7/2020   48.76    8.76   $   28.00   $   14.00   $   122.64   $   122.64
 11/8/2020   11/14/2020   47.71    7.71   $   28.00   $   14.00   $   107.94   $   107.94
11/15/2020   11/21/2020   49.28    9.28   $   28.00   $   14.00   $   129.92   $   129.92
11/22/2020   11/28/2020   46.27    6.27   $   28.00   $   14.00   $    87.78   $    87.78
11/29/2020    12/5/2020   55.89   15.89   $   28.00   $   14.00   $   222.46   $   222.46
 12/6/2020   12/12/2020   48.23    8.23   $   28.00   $   14.00   $   115.22   $   115.22
12/13/2020   12/19/2020   55.36   15.36   $   28.00   $   14.00   $   215.04   $   215.04
12/20/2020   12/26/2020   48.79    8.79   $   28.00   $   14.00   $   123.06   $   123.06
12/27/2020     1/2/2021   46.59    6.59   $   28.00   $   14.00   $    92.26   $    92.26
  1/3/2021     1/9/2021   38.22       0   $   28.00   $   14.00   $      -     $      -
 1/10/2021    1/16/2021       0       0   $   28.00   $   14.00   $      -     $      -
 1/17/2021    1/23/2021       0       0   $   28.00   $   14.00   $      -     $      -
 1/24/2021    1/30/2021   56.15   16.15   $   28.00   $   14.00   $   226.10   $   226.10
 1/31/2021     2/6/2021   36.75       0   $   28.00   $   14.00   $      -     $      -
  2/7/2021    2/13/2021   57.98   17.98   $   28.00   $   14.00   $   251.72   $   251.72
 2/14/2021    2/20/2021      40       0   $   28.00   $   14.00   $      -     $      -
 2/21/2021    2/27/2021   59.37   19.37   $   28.00   $   14.00   $   271.18   $   271.18
 2/28/2021     3/6/2021   39.88       0   $   28.00   $   14.00   $      -     $      -
  3/7/2021    3/13/2021   60.52   20.52   $   28.00   $   14.00   $   287.28   $   287.28
 3/14/2021    3/20/2021   40.27    0.27   $   28.00   $   14.00   $     3.78   $     3.78
 3/21/2021    3/27/2021   52.28   12.28   $   28.00   $   14.00   $   171.92   $   171.92
 3/28/2021     4/3/2021   27.78       0   $   28.00   $   14.00   $      -     $      -
  4/4/2021    4/10/2021    48.5     8.5   $   28.00   $   14.00   $   119.00   $   119.00
 4/11/2021    4/17/2021   60.71   20.71   $   28.00   $   14.00   $   289.94   $   289.94
 4/18/2021    4/24/2021   38.99       0   $   28.00   $   14.00   $      -     $      -
 4/25/2021     5/1/2021   48.18    8.18   $   28.00   $   14.00   $   114.52   $   114.52
  5/2/2021     5/8/2021   39.85       0   $   28.00   $   14.00   $      -     $      -
  5/9/2021    5/15/2021   60.41   20.41   $   28.00   $   14.00   $   285.74   $   285.74
 5/16/2021    5/22/2021   21.22       0   $   28.00   $   14.00   $      -     $      -
 5/23/2021    5/29/2021   59.88   19.88   $   28.00   $   14.00   $   278.32   $   278.32
 5/30/2021     6/5/2021   40.48    0.48   $   28.00   $   14.00   $     6.72   $     6.72
  6/6/2021    6/12/2021    59.8    19.8   $   28.00   $   14.00   $   277.20   $   277.20
 6/13/2021    6/19/2021      42       2   $   28.00   $   14.00   $    28.00   $    28.00
 6/20/2021    6/26/2021   60.18   20.18   $   28.00   $   14.00   $   282.52   $   282.52
 6/27/2021     7/3/2021    41.9     1.9   $   28.00   $   14.00   $    26.60   $    26.60
  7/4/2021    7/10/2021   59.26   19.26   $   28.00   $   14.00   $   269.64   $   269.64
 7/11/2021    7/17/2021   41.29    1.29   $   28.00   $   14.00   $    18.06   $    18.06
 7/18/2021    7/24/2021   60.34   20.34   $   28.00   $   14.00   $   284.76   $   284.76
 7/25/2021    7/31/2021   39.48       0   $   28.00   $   14.00   $      -     $      -
  8/1/2021     8/7/2021    59.9    19.9   $   28.00   $   14.00   $   278.60   $   278.60
  8/8/2021    8/14/2021   39.39       0   $   28.00   $   14.00   $      -     $      -
 8/15/2021    8/21/2021   10.67       0   $   28.00   $   14.00   $      -     $      -
 8/22/2021    8/28/2021   42.21    2.21   $   28.00   $   14.00   $    30.94   $    30.94
 8/29/2021     9/4/2021   63.84   23.84   $   28.00   $   14.00   $   333.76   $   333.76
  9/5/2021    9/11/2021   20.77       0   $   28.00   $   14.00   $      -     $      -
 9/12/2021    9/18/2021   51.19   11.19   $   28.00   $   14.00   $   156.66   $   156.66
 9/19/2021    9/25/2021   20.23       0   $   28.00   $   14.00   $      -     $      -
 9/26/2021    10/2/2021   37.88       0   $   28.00   $   14.00   $      -     $      -
 10/3/2021    10/9/2021   39.41       0   $   28.00   $   14.00   $      -     $      -
10/10/2021   10/16/2021   59.24   19.24   $   28.00   $   14.00   $   269.36   $   269.36
10/17/2021   10/23/2021    41.1     1.1   $   28.00   $   14.00   $    15.40   $    15.40
10/24/2021   10/30/2021   60.92   20.92   $   28.00   $   14.00   $   292.88   $   292.88
10/31/2021    11/6/2021   40.01    0.01   $   28.00   $   14.00   $     0.14   $     0.14
 11/7/2021   11/13/2021   59.58   19.58   $   28.00   $   14.00   $   274.12   $   274.12
11/14/2021   11/20/2021   49.45    9.45   $   28.00   $   14.00   $   132.30   $   132.30
11/21/2021   11/27/2021   60.83   20.83   $   28.00   $   14.00   $   291.62   $   291.62
11/28/2021    12/4/2021                                51.26                    11.26   $                    28.00    $                14.00   $                157.64   $      157.64
 12/5/2021   12/11/2021                                61.41                    21.41   $                    28.00    $                14.00   $                299.74   $      299.74
12/12/2021   12/18/2021                                40.25                     0.25   $                    28.00    $                14.00   $                  3.50   $        3.50
12/19/2021   12/25/2021                                56.21                    16.21   $                    28.00    $                14.00   $                226.94   $      226.94
12/26/2021     1/1/2022                                37.86                        0   $                    28.00    $                14.00   $                   -     $         -
  1/2/2022     1/8/2022                                57.18                    17.18   $                    28.00    $                14.00   $                240.52   $      240.52
  1/9/2022    1/15/2022                                40.35                     0.35   $                    28.00    $                14.00   $                  4.90   $        4.90
 1/16/2022    1/22/2022                                58.36                    18.36   $                    28.00    $                14.00   $                257.04   $      257.04
 1/23/2022    1/29/2022                                39.52                        0   $                    28.00    $                14.00   $                   -     $         -
 1/30/2022     2/5/2022                                59.84                    19.84   $                    28.00    $                14.00   $                277.76   $      277.76
  2/6/2022    2/12/2022                                38.69                        0   $                    28.00    $                14.00   $                   -     $         -
 2/13/2022    2/19/2022                                47.94                     7.94   $                    28.00    $                14.00   $                111.16   $      111.16
 2/20/2022    2/26/2022                                    0                        0   $                    28.00    $                14.00   $                   -     $         -
 2/27/2022     3/5/2022                                40.86                     0.86   $                    28.00    $                14.00   $                 12.04   $       12.04
  3/6/2022    3/12/2022                                 42.9                      2.9   $                    28.00    $                14.00   $                 40.60   $       40.60
 3/13/2022    3/19/2022                                61.49                    21.49   $                    28.00    $                14.00   $                300.86   $      300.86
 3/20/2022    3/26/2022                                41.42                     1.42   $                    28.00    $                14.00   $                 19.88   $       19.88
 3/27/2022     4/2/2022                                51.76                    11.76   $                    28.00    $                14.00   $                164.64   $      164.64
  4/3/2022     4/9/2022                                64.54                    24.54   $                    28.00    $                14.00   $                343.56   $      343.56
 4/10/2022    4/16/2022                                53.96                    13.96   $                    28.00    $                14.00   $                195.44   $      195.44
 4/17/2022    4/23/2022                                   46                        6   $                    28.00    $                14.00   $                 84.00   $       84.00
 4/24/2022    4/30/2022                                   42                        2   $                    28.00    $                14.00   $                 28.00   $       28.00
  5/1/2022     5/7/2022                                62.17                    22.17   $                    28.00    $                14.00   $                310.38   $      310.38
  5/8/2022    5/14/2022                                42.05                     2.05   $                    28.00    $                14.00   $                 28.70   $       28.70
 5/15/2022    5/21/2022                                31.64                        0   $                    28.00    $                14.00   $                   -     $         -
 5/22/2022    5/28/2022                                63.46                    23.46   $                    28.00    $                14.00   $                328.44   $      328.44
 5/29/2022     6/4/2022                                43.84                     3.84   $                    28.00    $                14.00   $                 53.76   $       53.76
  6/5/2022    6/11/2022                                52.81                    12.81   $                    28.00    $                14.00   $                179.34   $      179.34
 6/12/2022    6/18/2022                                41.32                     1.32   $                    28.00    $                14.00   $                 18.48   $       18.48
 6/19/2022    6/25/2022                                62.66                    22.66   $                    28.00    $                14.00   $                317.24   $      317.24
 6/26/2022     7/2/2022                                65.57                    25.57   $                    28.00    $                14.00   $                357.98   $      357.98
  7/3/2022     7/9/2022                                60.43                    20.43   $                    28.00    $                14.00   $                286.02   $      286.02
 7/10/2022    7/16/2022                                54.52                    14.52   $                    28.00    $                14.00   $                203.28   $      203.28
 7/17/2022    7/23/2022                                61.11                    21.11   $                    28.00    $                14.00   $                295.54   $      295.54
 7/24/2022    7/30/2022                                41.88                     1.88   $                    28.00    $                14.00   $                 26.32   $       26.32
                                                                                                                     Totals                    $             47,266.38   $   47,266.38

                          Alleged Unpaid Overtime Wages     Liquidated Damages       Alleged Statutory Violations   Prejudgment Interest      Grand Total
                           $                      47,266.38 $              47,266.38 $                    10,000.00 $               21,095.05 $             125,627.80

                                               Interest Calculation
                          Total Days                                             1984
                          Midpoint Date                                    11/11/2019
                          Midpoint to Today                                      1810
                          Daily Interest                       $                11.65
                          Total Interest                       $            21,095.05
                                                                     Daniel Garza
Week Start Week End Hours Worked         Overtime Hours Worked    Regular Rate              Overtime Premium Rate     Alleged Overtime Owed      Liquidated Damages
 2/22/2017 2/25/2017               58.20                    18.20 $                 22.00   $                 11.00    $                200.20    $             200.20
 2/26/2017   3/4/2017              59.63                    19.63 $                 22.00   $                 11.00    $                215.93    $             215.93
  3/5/2017 3/11/2017               56.23                    16.23 $                 22.00   $                 11.00   $                 178.53    $             178.53
 3/12/2017 3/18/2017               43.92                     3.92 $                 22.00   $                 11.00   $                  43.12    $              43.12
 3/19/2017 3/25/2017               44.52                     4.52 $                 22.00   $                 11.00    $                 49.72    $              49.72
 3/26/2017   4/1/2017              42.95                     2.95 $                 22.00   $                 11.00    $                 32.45    $              32.45
  4/2/2017   4/8/2017              43.68                     3.68 $                 22.00   $                 11.00    $                 40.48    $              40.48
  4/9/2017 4/15/2017               25.40                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 4/16/2017 4/22/2017               27.20                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 4/23/2017 4/29/2017               44.47                     4.47 $                 22.00   $                 11.00    $                 49.17    $              49.17
 4/30/2017   5/6/2017              49.68                     9.68 $                 22.00   $                 11.00    $                106.48    $             106.48
  5/7/2017 5/13/2017               41.62                     1.62 $                 22.00   $                 11.00    $                 17.82    $              17.82
 5/14/2017 5/20/2017               41.62                     1.62 $                 22.00   $                 11.00    $                 17.82    $              17.82
 5/21/2017 5/27/2017               43.45                     3.45 $                 22.00   $                 11.00    $                 37.95    $              37.95
 5/28/2017   6/3/2017              34.42                     0.00 $                 22.00   $                 11.00    $                   -      $                -
  6/4/2017 6/10/2017               45.47                     5.47 $                 22.00   $                 11.00    $                 60.17    $              60.17
 6/12/2017 6/18/2017               37.15                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 6/19/2017 6/25/2017               36.98                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 6/26/2017   7/2/2017              28.89                     0.00 $                 22.00   $                 11.00    $                   -      $                -
  7/3/2017   7/9/2017              45.62                     5.62 $                 22.00   $                 11.00    $                 61.82    $              61.82
 7/10/2017 7/16/2017               52.52                    12.52 $                 22.00   $                 11.00    $                137.72    $             137.72
 7/17/2017 7/23/2017               43.05                     3.05 $                 22.00   $                 11.00    $                 33.55    $              33.55
 7/24/2017 7/30/2017               43.41                     3.41 $                 22.00   $                 11.00    $                 37.51    $              37.51
 7/31/2017   8/6/2017              42.86                     2.86 $                 22.00   $                 11.00    $                 31.46    $              31.46
  8/7/2017 8/13/2017                8.68                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 8/14/2017 8/20/2017               44.64                     4.64 $                 22.00   $                 11.00    $                 51.04    $              51.04
 8/21/2017 8/27/2017               48.17                     8.17 $                 22.00   $                 11.00    $                 89.87    $              89.87
 8/28/2017   9/3/2017              47.96                     7.96 $                 22.00   $                 11.00    $                 87.56    $              87.56
  9/4/2017 9/10/2017               36.62                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 9/11/2017 9/17/2017               47.98                     7.98 $                 22.00   $                 11.00    $                 87.78    $              87.78
 9/18/2017 9/24/2017               38.28                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 9/25/2017 10/1/2017               56.75                    16.75 $                 22.00   $                 11.00    $                184.25    $             184.25
 10/2/2017 10/8/2017               38.31                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 10/9/2017 10/15/2017              39.90                     0.00 $                 22.00   $                 11.00    $                   -      $                -
10/16/2017 10/22/2017              55.63                    15.63 $                 22.00   $                 11.00    $                171.93    $             171.93
10/23/2017 10/29/2017              55.09                    15.09 $                 22.00   $                 11.00    $                165.99    $             165.99
10/30/2017 11/5/2017               46.76                     6.76 $                 22.00   $                 11.00    $                 74.36    $              74.36
 11/6/2017 11/12/2017              52.90                    12.90 $                 22.00   $                 11.00   $                 141.90    $             141.90
11/13/2017 11/19/2017              36.68                     0.00 $                 22.00   $                 11.00   $                    -      $                -
11/20/2017 11/26/2017              45.78                     5.78 $                 22.00   $                 11.00    $                 63.58    $              63.58
11/27/2017 12/3/2017               43.13                     3.13 $                 22.00   $                 11.00    $                 34.43    $              34.43
 12/4/2017 12/10/2017              45.00                     5.00 $                 22.00   $                 11.00    $                 55.00    $              55.00
12/11/2017 12/17/2017              45.58                     5.58 $                 22.00   $                 11.00    $                 61.38    $              61.38
12/18/2017 12/24/2017              28.17                     0.00 $                 22.00   $                 11.00    $                   -      $                -
12/25/2017 12/31/2017              18.36                     0.00 $                 22.00   $                 11.00    $                   -      $                -
  1/1/2018   1/7/2018              43.90                     3.90 $                 22.00   $                 11.00    $                 42.90    $              42.90
  1/8/2018 1/14/2018               49.27                     9.27 $                 22.00   $                 11.00    $                101.97    $             101.97
 1/15/2018 1/21/2018               57.21                    17.21 $                 22.00   $                 11.00    $                189.31    $             189.31
 1/22/2018 1/28/2018               48.30                     8.30 $                 22.00   $                 11.00    $                 91.30    $              91.30
 1/29/2018   2/4/2018              49.99                     9.99 $                 22.00   $                 11.00   $                 109.89    $             109.89
  2/5/2018 2/11/2018               50.81                    10.81 $                 22.00   $                 11.00   $                 118.91    $             118.91
 2/12/2018 2/18/2018               58.48                    18.48 $                 22.00   $                 11.00   $                 203.28    $             203.28
 2/19/2018 2/25/2018               54.32                    14.32 $                 22.00   $                 11.00   $                 157.52    $             157.52
 2/26/2018   3/4/2018              55.68                    15.68 $                 22.00   $                 11.00   $                 172.48    $             172.48
  3/5/2018 3/11/2018               53.53                    13.53 $                 22.00   $                 11.00   $                 148.83    $             148.83
 3/12/2018 3/18/2018               44.46                     4.46 $                 22.00   $                 11.00   $                  49.06    $              49.06
 3/19/2018 3/25/2018               57.00                    17.00 $                 22.00   $                 11.00   $                 187.00    $             187.00
 3/26/2018   4/1/2018              46.68                     6.68 $                 22.00   $                 11.00   $                  73.48    $              73.48
  4/2/2018   4/8/2018              38.32                     0.00 $                 22.00   $                 11.00   $                    -      $                -
  4/9/2018 4/15/2018               57.39                    17.39 $                 22.00   $                 11.00   $                 191.29    $             191.29
 4/16/2018 4/22/2018               55.45                    15.45 $                 22.00   $                 11.00   $                 169.95    $             169.95
 4/23/2018 4/29/2018               54.27                    14.27 $                 22.00   $                 11.00   $                 156.97    $             156.97
 4/30/2018   5/6/2018              44.75                     4.75 $                 22.00   $                 11.00    $                 52.25    $              52.25
  5/7/2018 5/13/2018               43.66                     3.66 $                 22.00   $                 11.00    $                 40.26    $              40.26
 5/14/2018 5/20/2018               45.00                     5.00 $                 22.00   $                 11.00    $                 55.00    $              55.00
 5/21/2018 5/27/2018               44.07                     4.07 $                 22.00   $                 11.00    $                 44.77    $              44.77
 5/28/2018   6/3/2018              52.17                    12.17 $                 22.00   $                 11.00    $                133.87    $             133.87
  6/4/2018 6/10/2018               44.82                     4.82 $                 22.00   $                 11.00    $                 53.02    $              53.02
 6/11/2018 6/17/2018               45.15                     5.15 $                 22.00   $                 11.00    $                 56.65    $              56.65
 6/18/2018 6/24/2018               52.82                    12.82 $                 22.00   $                 11.00    $                141.02    $             141.02
 6/25/2018   7/1/2018              44.18                     4.18 $                 22.00   $                 11.00    $                 45.98    $              45.98
  7/2/2018   7/8/2018              46.52                     6.52 $                 22.00   $                 11.00    $                 71.72    $              71.72
  7/9/2018 7/15/2018               46.62                     6.62 $                 22.00   $                 11.00    $                 72.82    $              72.82
 7/16/2018 7/22/2018               46.87                     6.87 $                 22.00   $                 11.00    $                 75.57    $              75.57
 7/23/2018 7/29/2018               54.92                    14.92 $                 22.00   $                 11.00   $                 164.12    $             164.12
 7/30/2018   8/5/2018              59.42                    19.42 $                 22.00   $                 11.00   $                 213.62    $             213.62
  8/6/2018 8/12/2018               57.84                    17.84 $                 22.00   $                 11.00   $                 196.24    $             196.24
 8/13/2018 8/19/2018               57.88                    17.88 $                 22.00   $                 11.00   $                 196.68    $             196.68
 8/20/2018 8/26/2018               57.17                    17.17 $                 22.00   $                 11.00   $                 188.87    $             188.87
 8/27/2018   9/2/2018              59.34                    19.34 $                 22.00   $                 11.00   $                 212.74    $             212.74
  9/3/2018   9/9/2018              61.62                    21.62 $                 22.00   $                 11.00   $                 237.82    $             237.82
 9/10/2018 9/16/2018               38.93                     0.00 $                 22.00   $                 11.00   $                    -      $                -
 9/17/2018 9/23/2018               48.88                     8.88 $                 22.00   $                 11.00   $                  97.68    $              97.68
 9/24/2018 9/30/2018               38.91                     0.00 $                 22.00   $                 11.00   $                    -      $                -
 10/1/2018 10/7/2018               37.36                     0.00 $                 22.00   $                 11.00    $                   -      $                -
 10/8/2018 10/14/2018              50.52                    10.52 $                 22.00   $                 11.00    $                115.72    $             115.72
10/15/2018 10/21/2018              54.82                    14.82 $                 22.00   $                 11.00    $                163.02    $             163.02
10/22/2018 10/28/2018              53.80                    13.80 $                 22.00   $                 11.00   $                 151.80    $             151.80
10/29/2018 11/4/2018    44.91    4.91   $   22.00   $   11.00 $    54.01   $    54.01
 11/5/2018 11/11/2018   44.15    4.15   $   22.00   $   11.00 $    45.65   $    45.65
11/12/2018 11/18/2018   44.54    4.54   $   22.00   $   11.00 $    49.94   $    49.94
11/19/2018 11/25/2018   43.70    3.70   $   22.00   $   11.00 $    40.70   $    40.70
11/26/2018 12/2/2018    53.20   13.20   $   22.00   $   11.00 $   145.20   $   145.20
 12/3/2018 12/9/2018    43.96    3.96   $   22.00   $   11.00 $    43.56   $    43.56
12/10/2018 12/16/2018   43.90    3.90   $   22.00   $   11.00 $    42.90   $    42.90
12/17/2018 12/23/2018   44.28    4.28   $   22.00   $   11.00 $    47.08   $    47.08
12/24/2018 12/30/2018   48.61    8.61   $   22.00   $   11.00 $    94.71   $    94.71
12/31/2018   1/6/2019   43.38    3.38   $   22.00   $   11.00 $    37.18   $    37.18
  1/7/2019 1/13/2019    53.94   13.94   $   22.00   $   11.00 $   153.34   $   153.34
 1/14/2019 1/20/2019    45.98    5.98   $   22.00   $   11.00 $    65.78   $    65.78
 1/21/2019 1/27/2019    51.20   11.20   $   22.00   $   11.00 $   123.20   $   123.20
 1/28/2019   2/3/2019   45.30    5.30   $   22.00   $   11.00 $    58.30   $    58.30
  2/4/2019 2/10/2019    44.83    4.83   $   22.00   $   11.00 $    53.13   $    53.13
 2/11/2019 2/17/2019    52.27   12.27   $   22.00   $   11.00 $   134.97   $   134.97
 2/18/2019 2/24/2019    44.15    4.15   $   22.00   $   11.00 $    45.65   $    45.65
 2/25/2019   3/3/2019   35.29    0.00   $   22.00   $   11.00 $      -     $      -
  3/4/2019 3/10/2019    43.87    3.87   $   22.00   $   11.00 $    42.57   $    42.57
 3/11/2019 3/17/2019    44.82    4.82   $   22.00   $   11.00 $    53.02   $    53.02
 3/18/2019 3/24/2019    53.98   13.98   $   22.00   $   11.00 $   153.78   $   153.78
 3/25/2019 3/31/2019    44.75    4.75   $   22.00   $   11.00 $    52.25   $    52.25
  4/1/2019   4/7/2019   50.07   10.07   $   23.50   $   11.75 $   118.32   $   118.32
  4/8/2019 4/14/2019    45.70    5.70   $   23.50   $   11.75 $    66.98   $    66.98
 4/15/2019 4/21/2019    47.79    7.79   $   23.50   $   11.75 $    91.53   $    91.53
 4/22/2019 4/28/2019    42.92    2.92   $   23.50   $   11.75 $    34.31   $    34.31
 4/29/2019   5/5/2019   56.32   16.32   $   23.50   $   11.75 $   191.76   $   191.76
  5/6/2019 5/12/2019    45.74    5.74   $   23.50   $   11.75 $    67.45   $    67.45
 5/13/2019 5/19/2019    56.57   16.57   $   23.50   $   11.75 $   194.70   $   194.70
 5/20/2019 5/26/2019    47.04    7.04   $   23.50   $   11.75 $    82.72   $    82.72
 5/27/2019   6/2/2019   47.82    7.82   $   23.50   $   11.75 $    91.88   $    91.88
  6/3/2019   6/9/2019   48.28    8.28   $   23.50   $   11.75 $    97.29   $    97.29
 6/10/2019 6/16/2019    42.05    2.05   $   23.50   $   11.75 $    24.09   $    24.09
 6/17/2019 6/23/2019    54.25   14.25   $   23.50   $   11.75 $   167.44   $   167.44
 6/24/2019 6/30/2019    58.06   18.06   $   23.50   $   11.75 $   212.21   $   212.21
  7/1/2019   7/7/2019   51.58   11.58   $   23.50   $   11.75 $   136.07   $   136.07
  7/8/2019 7/14/2019    48.99    8.99   $   23.50   $   11.75 $   105.63   $   105.63
 7/15/2019 7/21/2019    36.87    0.00   $   23.50   $   11.75 $      -     $      -
 7/22/2019 7/28/2019    55.17   15.17   $   23.50   $   11.75 $   178.25   $   178.25
 7/29/2019   8/4/2019   46.28    6.28   $   23.50   $   11.75 $    73.79   $    73.79
  8/5/2019 8/11/2019    37.47    0.00   $   23.50   $   11.75 $      -     $      -
 8/12/2019 8/18/2019    58.15   18.15   $   23.50   $   11.75 $   213.26   $   213.26
 8/19/2019 8/25/2019    58.25   18.25   $   23.50   $   11.75 $   214.44   $   214.44
 8/26/2019   9/1/2019   57.41   17.41   $   23.50   $   11.75 $   204.57   $   204.57
  9/2/2019   9/8/2019   45.61    5.61   $   23.50   $   11.75 $    65.92   $    65.92
  9/9/2019 9/15/2019    45.44    5.44   $   23.50   $   11.75 $    63.92   $    63.92
 9/16/2019 9/22/2019    46.35    6.35   $   23.50   $   11.75 $    74.61   $    74.61
 9/23/2019 9/29/2019    53.16   13.16   $   23.50   $   11.75 $   154.63   $   154.63
 9/30/2019 10/6/2019    37.28    0.00   $   23.50   $   11.75 $      -     $      -
 10/7/2019 10/13/2019   46.09    6.09   $   23.50   $   11.75 $    71.56   $    71.56
10/14/2019 10/20/2019   35.96    0.00   $   23.50   $   11.75 $      -     $      -
10/21/2019 10/27/2019   38.90    0.00   $   23.50   $   11.75 $      -     $      -
10/28/2019 11/3/2019    47.88    7.88   $   23.50   $   11.75 $    92.59   $    92.59
 11/4/2019 11/10/2019   49.06    9.06   $   23.50   $   11.75 $   106.46   $   106.46
11/11/2019 11/17/2019   46.41    6.41   $   23.50   $   11.75 $    75.32   $    75.32
11/18/2019 11/24/2019   46.73    6.73   $   23.50   $   11.75 $    79.08   $    79.08
11/25/2019 12/1/2019    44.97    4.97   $   23.50   $   11.75 $    58.40   $    58.40
 12/2/2019 12/8/2019    46.88    6.88   $   23.50   $   11.75 $    80.84   $    80.84
 12/9/2019 12/15/2019   45.22    5.22   $   23.50   $   11.75 $    61.34   $    61.34
12/16/2019 12/22/2019   53.16   13.16   $   23.50   $   11.75 $   154.63   $   154.63
12/23/2019 12/29/2019   49.15    9.15   $   23.50   $   11.75 $   107.51   $   107.51
12/30/2019   1/5/2020   47.58    7.58   $   23.50   $   11.75 $    89.07   $    89.07
  1/6/2020 1/12/2020    43.49    3.49   $   23.50   $   11.75 $    41.01   $    41.01
 1/13/2020 1/19/2020    46.57    6.57   $   23.50   $   11.75 $    77.20   $    77.20
 1/20/2020 1/26/2020    45.26    5.26   $   23.50   $   11.75 $    61.81   $    61.81
 1/27/2020   2/2/2020   47.67    7.67   $   23.50   $   11.75 $    90.12   $    90.12
  2/3/2020   2/9/2020   46.34    6.34   $   23.50   $   11.75 $    74.50   $    74.50
 2/10/2020 2/16/2020    46.76    6.76   $   23.50   $   11.75 $    79.43   $    79.43
 2/17/2020 2/23/2020    45.65    5.65   $   23.50   $   11.75 $    66.39   $    66.39
 2/24/2020   3/1/2020   45.18    5.18   $   23.50   $   11.75 $    60.87   $    60.87
  3/2/2020   3/8/2020   44.90    4.90   $   23.50   $   11.75 $    57.58   $    57.58
  3/9/2020 3/15/2020    45.29    5.29   $   23.50   $   11.75 $    62.16   $    62.16
 3/16/2020 3/22/2020    44.76    4.76   $   23.50   $   11.75 $    55.93   $    55.93
 3/23/2020 3/29/2020    28.80    0.00   $   23.50   $   11.75 $      -     $      -
 3/30/2020   4/5/2020    0.00    0.00   $   23.50   $   11.75 $      -     $      -
  4/6/2020 4/12/2020     5.85    0.00   $   23.50   $   11.75 $      -     $      -
 4/13/2020 4/19/2020    33.90    0.00   $   23.50   $   11.75 $      -     $      -
 4/20/2020 4/26/2020    54.20   14.20   $   23.50   $   11.75 $   166.85   $   166.85
 4/27/2020   5/3/2020   48.32    8.32   $   23.50   $   11.75 $    97.76   $    97.76
  5/4/2020 5/10/2020    51.15   11.15   $   23.50   $   11.75 $   131.01   $   131.01
 5/11/2020 5/17/2020    41.13    1.13   $   23.50   $   11.75 $    13.28   $    13.28
 5/18/2020 5/24/2020    44.67    4.67   $   23.50   $   11.75 $    54.87   $    54.87
 5/25/2020 5/31/2020    42.43    2.43   $   23.50   $   11.75 $    28.55   $    28.55
  6/1/2020   6/7/2020   42.51    2.51   $   23.50   $   11.75 $    29.49   $    29.49
  6/8/2020 6/14/2020    42.18    2.18   $   23.50   $   11.75 $    25.62   $    25.62
 6/15/2020 6/21/2020    42.62    2.62   $   23.50   $   11.75 $    30.79   $    30.79
 6/22/2020 6/28/2020    42.56    2.56   $   23.50   $   11.75 $    30.08   $    30.08
 6/29/2020   7/5/2020   42.91    2.91   $   23.50   $   11.75 $    34.19   $    34.19
  7/6/2020 7/12/2020    42.95    2.95   $   23.50   $   11.75 $    34.66   $    34.66
 7/13/2020 7/19/2020    43.33    3.33   $   23.50   $   11.75 $    39.13   $    39.13
 7/20/2020 7/26/2020    47.07    7.07   $   23.50   $   11.75 $    83.07   $    83.07
 7/27/2020   8/2/2020   54.97   14.97   $   23.50   $   11.75   $   175.90   $   175.90
  8/3/2020   8/9/2020   52.70   12.70   $   25.50   $   12.75   $   161.93   $   161.93
 8/10/2020 8/16/2020    53.49   13.49   $   25.50   $   12.75   $   172.00   $   172.00
 8/17/2020 8/23/2020    51.75   11.75   $   25.50   $   12.75   $   149.81   $   149.81
 8/24/2020 8/30/2020    43.96    3.96   $   25.50   $   12.75   $    50.49   $    50.49
 8/31/2020   9/6/2020   43.82    3.82   $   25.50   $   12.75   $    48.70   $    48.70
  9/7/2020 9/13/2020    42.70    2.70   $   25.50   $   12.75   $    34.42   $    34.42
 9/14/2020 9/20/2020    34.26    0.00   $   25.50   $   12.75   $      -     $      -
 9/21/2020 9/27/2020    46.46    6.46   $   25.50   $   12.75   $    82.36   $    82.36
 9/28/2020 10/4/2020    26.13    0.00   $   25.50   $   12.75   $      -     $      -
 10/5/2020 10/11/2020   33.80    0.00   $   25.50   $   12.75   $      -     $      -
10/12/2020 10/18/2020   52.55   12.55   $   25.50   $   12.75   $   160.01   $   160.01
10/19/2020 10/25/2020   48.02    8.02   $   25.50   $   12.75   $   102.26   $   102.26
10/26/2020 11/1/2020    52.30   12.30   $   25.50   $   12.75   $   156.83   $   156.83
 11/2/2020 11/8/2020    51.11   11.11   $   25.50   $   12.75   $   141.65   $   141.65
 11/9/2020 11/15/2020   51.10   11.10   $   25.50   $   12.75   $   141.53   $   141.53
11/16/2020 11/22/2020   54.17   14.17   $   25.50   $   12.75   $   180.67   $   180.67
11/23/2020 11/29/2020   58.15   18.15   $   25.50   $   12.75   $   231.41   $   231.41
11/30/2020 12/6/2020    55.67   15.67   $   25.50   $   12.75   $   199.79   $   199.79
 12/7/2020 12/13/2020   53.65   13.65   $   25.50   $   12.75   $   174.04   $   174.04
12/14/2020 12/20/2020   42.29    2.29   $   25.50   $   12.75   $    29.20   $    29.20
12/21/2020 12/27/2020   51.76   11.76   $   25.50   $   12.75   $   149.94   $   149.94
12/28/2020   1/3/2021   42.67    2.67   $   25.50   $   12.75   $    34.04   $    34.04
  1/4/2021 1/10/2021    42.81    2.81   $   25.50   $   12.75   $    35.83   $    35.83
 1/11/2021 1/17/2021    52.03   12.03   $   25.50   $   12.75   $   153.38   $   153.38
 1/18/2021 1/24/2021    51.99   11.99   $   25.50   $   12.75   $   152.87   $   152.87
 1/25/2021 1/31/2021    43.18    3.18   $   25.50   $   12.75   $    40.55   $    40.55
  2/1/2021   2/7/2021   50.92   10.92   $   25.50   $   12.75   $   139.23   $   139.23
  2/8/2021 2/14/2021    43.55    3.55   $   25.50   $   12.75   $    45.26   $    45.26
 2/15/2021 2/21/2021    51.93   11.93   $   25.50   $   12.75   $   152.11   $   152.11
 2/22/2021 2/28/2021    42.96    2.96   $   25.50   $   12.75   $    37.74   $    37.74
  3/1/2021   3/7/2021   43.71    3.71   $   25.50   $   12.75   $    47.30   $    47.30
  3/8/2021 3/14/2021    51.84   11.84   $   25.50   $   12.75   $   150.96   $   150.96
 3/15/2021 3/21/2021    52.44   12.44   $   25.50   $   12.75   $   158.61   $   158.61
 3/22/2021 3/28/2021    49.98    9.98   $   25.50   $   12.75   $   127.25   $   127.25
 3/29/2021   4/4/2021   26.35    0.00   $   25.50   $   12.75   $      -     $      -
  4/5/2021 4/11/2021    39.62    0.00   $   25.50   $   12.75   $      -     $      -
 4/12/2021 4/18/2021    56.82   16.82   $   25.50   $   12.75   $   214.46   $   214.46
 4/19/2021 4/25/2021    42.93    2.93   $   25.50   $   12.75   $    37.36   $    37.36
 4/26/2021   5/2/2021   42.69    2.69   $   25.50   $   12.75   $    34.30   $    34.30
  5/3/2021   5/9/2021   43.64    3.64   $   25.50   $   12.75   $    46.41   $    46.41
 5/10/2021 5/16/2021    44.23    4.23   $   25.50   $   12.75   $    53.93   $    53.93
 5/17/2021 5/23/2021    33.15    0.00   $   25.50   $   12.75   $      -     $      -
 5/24/2021 5/30/2021    53.87   13.87   $   25.50   $   12.75   $   176.84   $   176.84
 5/31/2021   6/6/2021   44.71    4.71   $   25.50   $   12.75   $    60.05   $    60.05
  6/7/2021 6/13/2021    50.80   10.80   $   25.50   $   12.75   $   137.70   $   137.70
 6/14/2021 6/20/2021    55.65   15.65   $   25.50   $   12.75   $   199.54   $   199.54
 6/21/2021 6/27/2021    50.58   10.58   $   25.50   $   12.75   $   134.90   $   134.90
 6/28/2021   7/4/2021   55.11   15.11   $   25.50   $   12.75   $   192.65   $   192.65
  7/5/2021 7/11/2021    50.85   10.85   $   25.50   $   12.75   $   138.34   $   138.34
 7/12/2021 7/18/2021    51.62   11.62   $   25.50   $   12.75   $   148.16   $   148.16
 7/19/2021 7/25/2021    50.93   10.93   $   25.50   $   12.75   $   139.36   $   139.36
 7/26/2021   8/1/2021   50.12   10.12   $   25.50   $   12.75   $   129.03   $   129.03
  8/2/2021   8/8/2021   50.26   10.26   $   25.50   $   12.75   $   130.82   $   130.82
  8/9/2021 8/15/2021    49.22    9.22   $   25.50   $   12.75   $   117.56   $   117.56
 8/16/2021 8/22/2021    53.95   13.95   $   25.50   $   12.75   $   177.86   $   177.86
 8/23/2021 8/29/2021    46.20    6.20   $   25.50   $   12.75   $    79.05   $    79.05
 8/30/2021   9/5/2021   56.61   16.61   $   25.50   $   12.75   $   211.78   $   211.78
  9/6/2021 9/12/2021    35.59    0.00   $   25.50   $   12.75   $      -     $      -
 9/13/2021 9/19/2021    46.66    6.66   $   25.50   $   12.75   $    84.92   $    84.92
 9/20/2021 9/26/2021    36.37    0.00   $   25.50   $   12.75   $      -     $      -
 9/27/2021 10/3/2021    34.85    0.00   $   25.50   $   12.75   $      -     $      -
 10/4/2021 10/10/2021   53.11   13.11   $   25.50   $   12.75   $   167.15   $   167.15
10/11/2021 10/17/2021   47.78    7.78   $   25.50   $   12.75   $    99.20   $    99.20
10/18/2021 10/24/2021   42.83    2.83   $   25.50   $   12.75   $    36.08   $    36.08
10/25/2021 10/31/2021   54.73   14.73   $   25.50   $   12.75   $   187.81   $   187.81
 11/1/2021 11/7/2021    42.92    2.92   $   25.50   $   12.75   $    37.23   $    37.23
 11/8/2021 11/14/2021   43.46    3.46   $   25.50   $   12.75   $    44.12   $    44.12
11/15/2021 11/21/2021   52.27   12.27   $   25.50   $   12.75   $   156.44   $   156.44
11/22/2021 11/28/2021   50.10   10.10   $   25.50   $   12.75   $   128.78   $   128.78
11/29/2021 12/5/2021    55.08   15.08   $   25.50   $   12.75   $   192.27   $   192.27
 12/6/2021 12/12/2021   45.82    5.82   $   25.50   $   12.75   $    74.21   $    74.21
12/13/2021 12/19/2021   52.48   12.48   $   25.50   $   12.75   $   159.12   $   159.12
12/20/2021 12/26/2021   43.68    3.68   $   25.50   $   12.75   $    46.92   $    46.92
12/27/2021   1/2/2022   42.87    2.87   $   25.50   $   12.75   $    36.59   $    36.59
  1/3/2022   1/9/2022   52.28   12.28   $   25.50   $   12.75   $   156.57   $   156.57
 1/10/2022 1/16/2022    53.40   13.40   $   25.50   $   12.75   $   170.85   $   170.85
 1/17/2022 1/23/2022    43.49    3.49   $   25.50   $   12.75   $    44.50   $    44.50
 1/24/2022 1/30/2022    45.18    5.18   $   25.50   $   12.75   $    66.05   $    66.05
 1/31/2022   2/6/2022   43.76    3.76   $   25.50   $   12.75   $    47.94   $    47.94
  2/7/2022 2/13/2022    46.33    6.33   $   25.50   $   12.75   $    80.71   $    80.71
 2/14/2022 2/20/2022    53.47   13.47   $   25.50   $   12.75   $   171.74   $   171.74
 2/21/2022 2/27/2022    46.46    6.46   $   25.50   $   12.75   $    82.37   $    82.37
 2/28/2022   3/6/2022   52.50   12.50   $   25.50   $   12.75   $   159.34   $   159.34
  3/7/2022 3/13/2022    56.61   16.61   $   25.50   $   12.75   $   211.78   $   211.78
 3/14/2022 3/20/2022    47.76    7.76   $   25.50   $   12.75   $    98.94   $    98.94
 3/21/2022 3/27/2022    56.66   16.66   $   25.50   $   12.75   $   212.42   $   212.42
 3/28/2022   4/3/2022   56.72   16.72   $   25.50   $   12.75   $   213.18   $   213.18
  4/4/2022 4/10/2022    57.60   17.60   $   25.50   $   12.75   $   224.40   $   224.40
 4/11/2022 4/17/2022    47.09    7.09   $   25.50   $   12.75   $    90.40   $    90.40
 4/18/2022 4/24/2022    31.46    0.00   $   25.50   $   12.75   $      -     $      -
4/25/2022    5/1/2022                               58.06                     18.06   $                    25.50    $               12.75   $               230.27   $      230.27
 5/2/2022    5/8/2022                               57.10                     17.10   $                    25.50    $               12.75   $               218.03   $      218.03
 5/9/2022   5/15/2022                               55.60                     15.60   $                    25.50    $               12.75   $               198.90   $      198.90
5/16/2022   5/22/2022                               56.32                     16.32   $                    25.50    $               12.75   $               208.08   $      208.08
5/23/2022   5/29/2022                               57.91                     17.91   $                    25.50    $               12.75   $               228.35   $      228.35
5/30/2022    6/5/2022                               49.75                      9.75   $                    25.50    $               12.75   $               124.31   $      124.31
 6/6/2022   6/12/2022                               50.53                     10.53   $                    25.50    $               12.75   $               134.26   $      134.26
6/13/2022   6/19/2022                               57.74                     17.74   $                    25.50    $               12.75   $               226.19   $      226.19
6/20/2022   6/26/2022                               58.72                     18.72   $                    25.50    $               12.75   $               238.68   $      238.68
6/27/2022    7/3/2022                               60.19                     20.19   $                    25.50    $               12.75   $               257.42   $      257.42
 7/4/2022   7/10/2022                               59.05                     19.05   $                    25.50    $               12.75   $               242.89   $      242.89
7/11/2022   7/17/2022                               48.06                      8.06   $                    25.50    $               12.75   $               102.77   $      102.77
7/18/2022   7/24/2022                               46.86                      6.86   $                    25.50    $               12.75   $                87.47   $       87.47
7/25/2022   7/31/2022                               46.62                      6.62   $                    25.50    $               12.75   $                84.41   $       84.41
                                                                                                                   Totals                   $            26,974.25   $   26,974.25

                        Alleged Unpaid Overtime Wages     Liquidated Damages       Alleged Statutory Violations   Prejudgment Interest     Grand Total
                         $                      26,974.25 $              26,974.25 $                    10,000.00 $              12,035.32 $             75,983.81

                                            Interest Calculations
                        Total Days                                            1985
                        Midpoint Date                                   11/11/2019
                        Midpoint to Today                                    1809.5
                        Daily Interest                      $                 6.65
                        Total Interest                      $            12,035.32
